      Case 1:25-cv-11916-WGY         Document 16      Filed 07/07/25    Page 1 of 39




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


AMERICAN ACADEMY OF PEDIATRICS, et
al.,

              Plaintiffs,
                                                    Case No. 1:25-cv-11916
vs.
                                                    District Judge: Hon. William G. Young
ROBERT F. KENNEDY, JR., in his official             Magistrate Judge: Hon. M. Page Kelley
capacity as Secretary of the Department of Health
and Human Services, et al.,                         REQUEST FOR ORAL
                                                    ARGUMENT
              Defendants.


            MEMORANDUM IN SUPPORT OF PLAINTIFFS’
           MOTION FOR PRELIMINARY INJUNCTION AND
  DECLARATORY RELIEF AND REQUEST FOR EXPEDITED CONSIDERATION
        Case 1:25-cv-11916-WGY                        Document 16                 Filed 07/07/25               Page 2 of 39




                                                     TABLE OF CONTENTS
                                                                                                                                      Page
I.          INTRODUCTION ........................................................................................................ 1
II.         BACKGROUND .......................................................................................................... 2
       A.   Processes And Procedures For Developing Vaccination Recommendations ............... 2
       B.   Secretary Kennedy’s Announcement Of The Rescission Of The Covid
            Recommendations For Healthy Children And Pregnant Women ................................. 4
       C.   The Devastating Effects Of The Rescission And Removal Of The CDC’s
            Vaccine Recommendations ........................................................................................... 6
       D.   The Plaintiffs ................................................................................................................. 8
       E.   Harmful Repercussions Of The Secretary’s Baseless Directive To Change the
            CDC Vaccination Recommendations ......................................................................... 11
            1. Pregnancy .............................................................................................................. 11
            2. Children................................................................................................................. 12
III.        ARGUMENT .............................................................................................................. 13
       A.   Preliminary Injunction Standard ................................................................................. 13
       B.   The Court Has Jurisdiction over the Legal Claims ..................................................... 14
            1. Article III Standing ............................................................................................... 14
            2. APA Standing and Jurisdiction ............................................................................. 16
       C.   Plaintiffs Have Established A Substantial Likelihood Of Success On The Merits .... 17
            1. The Secretary’s Action Is Arbitrary And Capricious. .......................................... 17
                a.     The Secretary’s Directive Lacks Reasoned Decision-Making Or An
                       Explanation For The Change In Position. ....................................................... 18
                b.     The Secretary Failed To Consider Important Aspects Of How Changes
                       To The National Vaccine Schedule Would Impact The Health Care
                       Industry. .......................................................................................................... 22
                c.     The Directive Fails Because It Is Contrary To Evidence. .............................. 23
            2. The Secretary’s Action Was Not In Accordance With Law And Exceeds
               The Secretary’s Authority. .................................................................................... 26
       D.   Plaintiffs Will Suffer Irreparable Harm Absent Injunctive Relief .............................. 27
       E.   The Balance Of Hardships And The Public Interest Weigh In Favor Of
            An Injunction. ............................................................................................................. 29
IV.         CONCLUSION ........................................................................................................... 31
         Case 1:25-cv-11916-WGY                           Document 16                Filed 07/07/25               Page 3 of 39




                                                 TABLE OF AUTHORITIES

                                                                                                                                     Page(s)

Cases

A.M. L. Int’l., Inc. v. Daley,
   107 F.Supp.2d 90 (D. Mass. Jul. 28, 2000) .............................................................................21

Am. Pub. Health Ass’n v. Nat’l Inst. of Health,
   Case No. 1:25-cv-10814-WGY, ECF No. 163 (D. Mass. July 2, 2025)
   ................................................................................................................................18, 19, 24, 25

Amerijet Int’l, Inc. v. Pistole,
  753 F.3d 1343 (D.C. Cir. 2014) ...............................................................................................24

Ass’n of Am. Univs. v. Dep’t of Energy,
   2025 WL 1414135 (D. Mass. May 15, 2025) ..........................................................................14

Ass’n of Am. Univs. v. Nat’l Sci. Found.,
   2025 WL 1725857 (D. Mass. June 20, 2025) ..........................................................................14

Bowen v. Massachusetts,
   487 U.S. 879 (1988) .................................................................................................................16

City of Arlington v. FCC,
    569 U.S. 290 (2013) .................................................................................................................27

Clarke v. Office of Fed. Hous. Enter. Oversight,
   355 F. Supp. 2d 56 (D.D.C. 2004) ...........................................................................................30

Corp. Techs., Inc. v. Harnett,
   731 F.3d 6 (1st Cir. 2013) ........................................................................................................13

Dep’t of Comm. v. New York,
   588 U.S. 752 (2019) ......................................................................................................... passim

Dep’t of Homeland Sec’y v. Regents of the Univ. of Cal.,
   591 U.S. 1 (2020) ...............................................................................................................21, 23

Dept. of Commerce v. New York,
   139 S. Ct. 2551 (2019) .............................................................................................................14

Does 1–6 v. Mills,
   16 F.4th 20 (1st Cir. 2021) .......................................................................................................29

FCC v. Prometheus Radio Project,
  592 U.S. 414 (2021) ...........................................................................................................18, 20



                                                                        ii
         Case 1:25-cv-11916-WGY                         Document 16               Filed 07/07/25             Page 4 of 39




FDA v. Wages & White Lion Invs., LLC,
  145 S.Ct. 898 (2025) ................................................................................................................23

In re Fin. Oversight & Mgmt. Bd. for Puerto Rico,
    110 F.4th 295 (1st Cir. 2024) ...................................................................................................14

Fox v. Fox Television Stations, Inc.,
   556 U.S. 502 (2009) .....................................................................................................19, 20, 26

Health Ins. Ass’n of Am., Inc. v. Shalala,
   23 F.3d 412 (D.C. Cir. 1994) ...................................................................................................27

Hunt v. Wash. State Apple Advert. Comm’n,
   432 U.S. 333 (1977) .................................................................................................................14

League of Women Voters of U.S. v. Newby,
   838 F.3d 1, 343 (D.C. Cir. 2016) .............................................................................................31

Little Sisters of the Poor Saints Peter and Paul Home v. Pennsylvania,
    591 U.S. 657 (2020) .................................................................................................................19

Loper Bright Enters. v. Raimondo,
   603 U.S. 369 (2024) .................................................................................................................18

Lujan v. Defs. of Wildlife,
   504 U.S. 555 (1992) .................................................................................................................14

Marasca & Nesselbush, LLP v. Collins,
  6 F. 4th 150 (1st Cir. 2021) ......................................................................................................21

Massachusetts v. Kennedy,
  1:25-cv-10814, (D. Mass. 2025) ..............................................................................................31

Massachusetts v. Nat’l Inst. of Health,
  770 F. Supp. 3d 277 (D. Mass. 2025) ..........................................................................16, 17, 29

Morton v. Ruiz,
  415 U.S. 199 (1974) .................................................................................................................26

Motor Vehicle Mfrs. Assn. of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
   463 U.S. 29 (1983) ........................................................................................................... passim

Neighborhood Ass’n of the Back Bay, Inc. v. FTA,
   407 F. Supp. 2d 323 (D. Mass. 2005) ......................................................................................30

Nken v. Holder,
   556 U.S. 418 (2009) .................................................................................................................13




                                                                    iii
         Case 1:25-cv-11916-WGY                           Document 16                Filed 07/07/25               Page 5 of 39




Penobscot Air Servs., Ltd. v. FAA,
   164 F.3d 713 (1st Cir. 1999) ....................................................................................................19

Planned Parenthood of N.Y.C., Inc. v. HHS,
   337 F. Supp. 3d 308 (S.D.N.Y. 2018)......................................................................................31

Rhode Island v. Trump,
   2025 WL 1303868 (D. Mass. May 6, 2025) ............................................................................21

Tex. Med. Ass’n v. U.S. Dep’t of Health & Human Servs.,
   110 F.4th 762 (5th Cir. 2024) ..................................................................................................27

Texas v. Becerra,
   89 F.4th 529 (5th Cir. 2024) ....................................................................................................27

West Virginia v. EPA,
   142 S. Ct. 2587 (2022) .............................................................................................................27

Statutes

45 C.F.R. § 147.130(a)(1)(ii) ...........................................................................................................2

5 U.S.C. § 702 ................................................................................................................................16

5 U.S.C. § 704 ................................................................................................................................16

5 U.S.C. § 706(2)(A)................................................................................................................17, 26

42 U.S.C. § 245 ..............................................................................................................................26

42 U.S.C. § 262(2) ...........................................................................................................................2

42 U.S.C. § 300gg-13 (a)(2) ............................................................................................................3

42 U.S.C. § 1396s(e) ..................................................................................................................3, 23

5. U.S.C. §§ 1001, et seq..................................................................................................................2

Other Authorities

Fed. R. Evid. 803(4) .......................................................................................................................30




                                                                       iv
      Case 1:25-cv-11916-WGY             Document 16        Filed 07/07/25      Page 6 of 39




                                    I.      INTRODUCTION

       In the short time he has been in office, United States Health and Human Services Secretary

Robert F. Kennedy, Jr. (the “Secretary”) has recklessly disregarded the statutory and regulatory

framework that governs the process for deciding which vaccines are listed on federal immunization

schedules upon which the nation’s entire healthcare system lies. The Secretary’s “Secretarial

Directive” dated May 19, 2025 (the “Directive”) rescinds and removes Covid-19 (hereinafter,

“Covid”) vaccine recommendations for pregnant individuals and children from federal

immunization schedules. The Secretary provided no evidentiary support for the Directive, and it

was issued outside the well-established, required processes for developing and implementing the

nation’s vaccine recommendations. The Directive is a quintessential arbitrary and capricious

agency action, is not in accordance with law, and violates the Administrative Procedure Act.

Secretary Kennedy cannot be permitted to override sound public health policy, jeopardize public

trust, and place millions of lives at immediate and irreparable risk of severe illness or death.

       Through the decades, the executive and congressional branches have worked together to

establish a complex statutory and regulatory framework to ensure that vaccine recommendations

are developed and modified through careful, transparent, and expert-driven processes––not

through unilateral fiat or ideology. The Directive represents a dangerous departure from those

critical protections and undermines the very infrastructure designed to prevent the spread of

infectious diseases and protect the lives of Americans. Accordingly, this Court should declare the

Directive unlawful, vacate it in its entirety, and require the CDC to restore to its immunization

schedules the vaccines which the Directive ordered removed.

       Plaintiffs American Academy of Pediatrics, American College of Physicians, American

Public Health Association, Infectious Disease Society of America, Massachusetts Public Health
         Case 1:25-cv-11916-WGY             Document 16         Filed 07/07/25        Page 7 of 39




Alliance, Society for Maternal-Fetal Medicine (collectively, the “Association Plaintiffs” or

individually referred to as an “Association Plaintiff”), and Jane Doe (together with Association

Plaintiffs, “Plaintiffs”) are an individual and physician and public health associations who have

been irreparably harmed by the Secretary’s arbitrary, capricious, and unlawful Directive. Without

injunctive relief vacating the Secretary’s action, pregnant individuals and children face preventable

illness and death. For the reasons set forth below, Plaintiffs’ motion for preliminary injunction and

declaratory relief should be granted.

                                      II.      BACKGROUND

A.       Processes And Procedures For Developing Vaccination Recommendations

         The Department of Health and Human Services (“HHS”) oversees the process by which

vaccines are approved and recommended. To harmonize this process, it has entrusted the Food and

Drug Administration (“FDA”) and the Centers for Disease Control and Prevention (the “CDC”) to

support aspects of vaccine review and recommendation relevant to their respective areas of

expertise. Since their inception, vaccines have undergone a rigorous and continued safety and

efficacy review in the United States. Initially, the FDA reviews applications to market new

vaccines and decides whether to license vaccines for use. 42 U.S.C. § 262(2). Following FDA

approval, the Advisory Committee on Immunization Practices (the “ACIP”), an advisory

committee subject to the Federal Advisory Committee Act, 5. U.S.C. §§ 1001, et seq., is charged

with developing recommendations for whether and how vaccines are listed on the CDC’s

immunization schedules (the “Schedules”).1 The CDC Director has the authority to adopt ACIP

recommendations, and, once approved, the CDC publishes all ACIP recommendations on its




         1
               Ex. 1, The Advisory Committee on Immunization Practices Policies and Procedures, CDC at 1 (June
2022).



                                                     2
      Case 1:25-cv-11916-WGY            Document 16         Filed 07/07/25     Page 8 of 39




website and in the Morbidity and Mortality Weekly Report (“MMWR”).2 45 C.F.R. §

147.130(a)(1)(ii). Meanwhile, the FDA, the ACIP, and the CDC continue to monitor and review

the vaccines on the immunization schedule to ensure they remain up-to-date and comport with

emerging peer-reviewed, evidence-based data and studies.

       The centrality of the CDC’s immunization schedules to the nation’s health is not merely a

matter of scientific custom but is deeply woven into the fabric of federal and state law, which

deliberately and repeatedly tie essential public health programs and insurance coverage mandates

directly to the CDC’s immunization schedules. For example, after voting to recommend the

inclusion of a vaccine on the Child and Adolescent Immunization Schedule by Age, the ACIP held

a special vote to also include that vaccine in the Vaccines for Children Program (“VFC”), a

program which is statutorily mandated to provide all ACIP-recommended vaccines to millions of

eligible children, free of cost. 42 U.S.C. § 1396s(e) (specifying that the list of approved vaccines

is “the list established (and periodically reviewed and as appropriate revised) by the Advisory

Committee on Immunization Practices (an advisory committee established by the Secretary, acting

through the Director of the” CDC)). Similarly, the Affordable Care Act (“ACA”) explicitly

prohibits all commercial health insurance plans and Medicaid expansion programs from imposing

any cost-sharing requirements for “immunizations that have in effect a recommendation from the

Advisory Committee on Immunization Practices.” 42 U.S.C. § 300gg-13 (a)(2).

       Even during the height of the Covid pandemic, the FDA, the ACIP, and the CDC

consistently adhered to this established vaccine approval-and-recommendation process. 3 The

Directive, however, upends this carefully balanced, evidence-based process.




       2
               Id. at 9.
       3
               Ex. 2, Summary of Covid Vaccine Approval and Recommendations.



                                                  3
       Case 1:25-cv-11916-WGY                 Document 16          Filed 07/07/25         Page 9 of 39




B.      Secretary Kennedy’s Announcement Of The Rescission                                   Of    The     Covid
        Recommendations For Healthy Children And Pregnant Women

        The Secretary posted a video on his X social media account on May 27, 2025, directing the

removal of the Covid vaccine from the Schedules for “healthy children” and “healthy pregnant

women.”4 This came as a shock to the Plaintiffs.5 The fifty-eight second video features the

Secretary, FDA Commissioner Marty Makary, and National Institute of Health (“NIH”) Director

Jay Bhattacharya. In the video, the Secretary claims that there is a “lack of any clinical data to

support the repeat booster strategy in children.”6 He then looked to Commissioner Makary, who

stated “there’s no evidence healthy kids need it today, and most countries have stopped

recommending it for children.”7 None of these leaders, however, directed viewers to any evidence

supporting these statements.8

        That same day, Secretary Kennedy issued the Directive, even though it is dated May 19,

2025.9 The Directive “CDC recommendations” for the use of the Covid vaccine “for children ages

six months to 17 years” and for “pregnant women” and directs the CDC to remove these vaccines

from the Schedules.10 Like his X post, the Directive is devoid of any evidence supporting changes

to the Schedules. Instead, the Directive states that the Secretary based his decision to rescind these

recommendations on review of only unidentified FDA and NIH recommendations that led him to

“determine[] that the knowns risks … do not outweigh the benefits of the vaccine.” 11 The Directive



        4
                    See       @SecKennedy,          X         (May         27,        2025,       10:16      AM),
https://x.com/SecKennedy/status/1927368440811008138.
          5
             Ex. 3, Declaration of Jamie Loehr, MD, FAAFP, dated July 6, 2025 (“Dr. Loehr Decl.”) at ¶ 10; Ex. 4,
Declaration of Jane Doe, MD, dated July 5, 2025 (“Jane Doe Decl.”) at ¶ 5.
          6
                    See       @SecKennedy,          X         (May         27,        2025,       10:16      AM),
https://x.com/SecKennedy/status/1927368440811008138.
          7
                    Id.
          8
                    Id.
                    9
                             Ex. 5, Secretary Kennedy, Secretarial Directive on the Pediatric COVID-19 Vaccines for
Children Less Than 18 Years of Age and Pregnant Women (May 19, 2025).
          10
                    Id.
          11
                    Id.



                                                        4
         Case 1:25-cv-11916-WGY            Document 16          Filed 07/07/25        Page 10 of 39




does not identify anything else upon which the Secretary based his decision, evidencing that the

Secretary did not review or consider the multiple published recommendations from the ACIP that

detail their careful and deep analysis of the data regarding the safety and effectiveness of Covid

vaccines for these population groups.12

          On May 29, 2025, the CDC complied with the Directive and removed the Covid vaccine

from the CDC’s Adult Immunization Schedule.13 The CDC did not, however, remove its

recommendations in the “Vaccine Recommendations Before, During, and After Pregnancy” fact

sheet, which—as of the date of this filing—warns that “Covid-19 vaccine recommendations have

recently been updated for some populations” but still advises that “[p]regnant women are more

likely to get severely ill with COVID-19 compared to women who are not pregnant. If you are

pregnant, you should stay up to date on your COVID-19 vaccine.” 14

          Further, although the Directive ordered the CDC “to remove Covid-19 vaccines from the

recommended Child and Adolescent Immunization Schedule by Age,” the CDC did not do so.

Instead, on May 29, 2025, the CDC updated the Child and Adolescent Immunization Schedule to

reflect a “shared clinical decision-making” recommendation for the Covid vaccination, which the

CDC had previously classified as a routine vaccination for children. 15 Shared clinical decision-

making recommendations (“SCDM”) are intended to apply to situations where a broad deployment

of a vaccination to an entire population would be inappropriate, but certain individuals, based upon

their individual characteristics and preferences, may benefit from the vaccination. 16 Patients are



          12
                 See Ex. 2, Summary of Covid-19 Vaccine Approval and Recommendations.
          13
                 Ex. 6, CDC, Adult Immunization Schedule by Medical Condition and Other Indication (May 29,
2025).
          14
                 Ex 7, CDC, Vaccine Recommendations Before, During, and After Pregnancy (June 24, 2024).
          15
                 Ex. 8, CDC, Child and Adolescent Immunization Schedule by Age (May 29, 2025).
         16
                 CDC, ACIP Shared Clinical Decision-Making Recommendations, CDC: Advisory Committee on
Immunization Practices (ACIP) (Jan. 7, 2025), https://www.cdc.gov/acip/vaccine-recommendations/shared-clinical-
decision-making.html.



                                                      5
       Case 1:25-cv-11916-WGY                  Document 16           Filed 07/07/25         Page 11 of 39




thus encouraged to discuss vaccines designated with SCDM with their providers. Unlike a

“routine” recommendation, which is essentially an unqualified recommendation, a vaccine

categorized as SCDM can cause difficulty in obtaining insurance coverage of the vaccination. 17

But, despite the Directive to remove this vaccine entirely from the Schedules, it has not been

removed.

         During the June 25, 2025, ACIP meeting, the CDC provided a detailed presentation to new

members of the ACIP reiterating the importance and effectiveness of administering routine Covid

vaccines to children and pregnant women. The presentation contained a wealth of undisputed data

that demonstrated the safety of the Covid vaccine for children and pregnant women. 18

Nevertheless, on July 2, 2025, the CDC began wiping its website clean of fact sheets stating that

the Covid vaccine is safe during pregnancy. For example, until July 2, 2025, the CDC maintained

fact sheets on its website stating: “It is safe to receive an mRNA COVID-19 vaccine (Moderna or

Pfizer-BioNTech), before and during pregnancy.”19 This webpage now directs to a broken

weblink.

C.       The Devastating Effects Of The Rescission And Removal Of The CDC’s Vaccine
         Recommendations

         The Secretary’s unilateral changes to the Schedules and chaotic, inconsistent

implementation of the Directive on the CDC’s website, resulting in an aftermath of mixed



         17
                 Some commercial health insurance plans interpret routine and shared clinical decision-making
vaccine recommendations on the Schedules as triggering coverage, while other commercial health insurance
companies only provide coverage for “required” (i.e., routine) vaccine recommendations. See, e.g., UnitedHealthCare,
UnitedHealthCare Commercial Medical Benefit Drug Policy at 1 (Dec. 1, 2024) (only providing coverage for
immunizations “subject to explicit the ACIP recommendations (e.g., ‘should’, ‘shall’, ‘is’), and not permissive (‘may’)
recommendations, for routine use”), https://www.uhcprovider.com/content/dam/provider/docs/public/policies/comm-
medical-drug/vaccines.pdf,.
        18
                 See generally Adam MacNeil, Advisory Committee on Immunization Practices COVID-19 Session,
CDC ACIP Meeting (June 25, 2025), https://www.cdc.gov/acip/downloads/slides-2025-06-25-26/01-MacNeil-
COVID-508.pdf.
        19
                 Ex. 9, CDC, COVID-19 Vaccination for Women Who Are Pregnant or Breastfeeding (Sept. 10,
2024).



                                                          6
      Case 1:25-cv-11916-WGY                  Document 16           Filed 07/07/25          Page 12 of 39




messages regarding the CDC’s vaccine recommendations, have upended the established, evidence-

based processes and practices that govern vaccine recommendations that protect human life and

public health. For decades, the Schedules have served as a trusted guidepost for healthcare

providers and the public, offering vaccine recommendations grounded in rigorous scientific review

and providing essential clarity in moments of uncertainty. The Secretary’s unilateral directive to

alter the Schedules for these vulnerable populations arbitrarily departs from long-standing

practices rooted in reliance on data from peer-reviewed, evidence-based, scientific studies, and

creates a conflict with the standards of care physicians must follow. As the CDC’s presentations

and statements from leading federal public health officials confirm, 20 the Directive was issued

without reliance on any scientific evidence and without reasonable, rational explanation for this

dramatic reversal.

         The Declarations attached to this motion from doctors across the country and the individual

Plaintiff show the harm that the Directive has caused. The Directive, in combination with the

Secretary’s other anti-vaccine actions and statements, has damaged the physician-patient

relationship. Doctors who do not trust the Directive are faced with the conflict of either meeting

their duty of care and recommending the vaccine to pregnant women or healthy children, or

complying with a federal Directive that is not based on science and comes from an individual who

said under oath that no one should trust his medical advice. 21 This sudden and unsupported action

irreparably discredits years of carefully built scientific consensus and recommendations, sows




          20
                   See Ex. 10, Declaration of Susan J. Kressly, MD, FAAP, dated July 3, 2025 (“Dr. Kressly Decl.”)
at ¶¶ 11, 20–23; Ex. 11, Declaration of Charlotte Moser, MS (dated July 6, 2025) at ¶ 10; Ex. 3, Dr. Loehr Decl. ¶ 10.
          21
                   Ex. 10, Dr. Kressly Decl. ¶ 17; Ex. 12, Declaration of Ravi Jhaveri, MD, dated July 5, 2025 (“Dr.
Jhaveri Decl.”) at ¶ 10; Ex. 13, Declaration of Mary Doherty-O’Shea Gallucci, MD, dated July 3, 2025 (“Dr. O’Shea
Decl.”) at ¶¶ 9, 17; Ex. 14, Declaration of Shannon Scott-Vernaglia, MD (dated July 7, 2025), at ¶¶ 19.



                                                          7
       Case 1:25-cv-11916-WGY                  Document 16            Filed 07/07/25         Page 13 of 39




confusion among providers and patients nationwide, and directly endangers the health of countless

pregnant and pediatric patients who depend on timely access to this life-saving vaccine. 22

D.       The Plaintiffs

         The American Academy of Pediatrics (“AAP”) is the nation’s premier professional

organization for pediatric medicine and serves as an independent forum for addressing children’s

health. The AAP’s membership includes 67,000 pediatricians nationwide, many of whom

currently provide direct care to infants, children, adolescents, and young adults, in both hospital

and outpatient settings.23

         The American College of Physicians (“ACP”) is a professional organization comprised of

161,000 internal medicine specialists, related subspecialists, and medical students who apply

scientific knowledge and clinical expertise to the diagnosis, treatment, and compassionate care of

adults worldwide. The ACP’s mission is to enhance the quality and effectiveness of health care by

fostering excellence and professionalism in the practice of medicine. 24

         The American Public Health Association (“APHA”) has promoted public health of all U.S.

residents since its founding in 1872. APHA members include more than 23,000 individual public

health professional members, state and local health departments, organizations interested in health,

and health-related businesses. APHA members work in every discipline of public health, in every

state, and in countries across the globe.25




         22
                  See, e.g., Ex. 12, Dr. Jhaveri Decl. ¶ 11; Ex. 13, Dr. O’Shea Decl. ¶¶ 5, 9; Ex. 10, Dr. Kressly Decl.
¶¶ 15, 23; Ex. 15, Declaration of Caroline E. Rouse, MD, dated July 4, 2025 (“Dr. Rouse Decl.”) at ¶¶ 2, 8; Ex. 16,
Declaration of Robert H. Hopkins, Jr., MD, MACP, dated July 3, 2025 (“Dr. Hopkins Decl.”) at ¶¶ 32, 37; Ex. 4, Jane
Doe Decl. ¶¶ 9–11.
          23
                  Ex. 10, Dr. Kressly Decl. ¶¶ 6, 7.
          24
                  Ex. 17, Declaration of Jason M. Goldman, MD, MACP, dated July 3, 2025 (“Dr. Goldman Decl.”)
at ¶¶ 7, 8.
          25
                  Ex. 18, Declaration of Georges C. Benjamin, MD, dated July 3, 2025 (“Dr. Benjamin Decl.”) at ¶¶
8–9.



                                                           8
      Case 1:25-cv-11916-WGY                 Document 16           Filed 07/07/25         Page 14 of 39




        The Infectious Diseases Society of America (“IDSA”) is a professional organizational

comprised of over 13,000 members, including practicing clinicians, scientists and researchers in

the academic setting, public health officials, hospital epidemiologists, and infectious disease

specialists working in a variety of settings nationwide. Many IDSA members currently provide

direct care to pregnant women, newborns, and children in both hospital and outpatient settings.

The IDSA’s mission is to bring together the curiosity, compassion and knowledge of its members

and strengthen the field of infectious diseases, advance science, and advocate for health equity. 26

        The Society for Maternal-Fetal Medicine (“SMFM”) is a professional organization

dedicated to advancing optimal and equitable perinatal outcomes for all people who desire or

experience pregnancy. SMFM represents the interests of over 6,500 members, comprised primarily

of maternal-fetal medicine subspecialists, as well as physicians in related disciplines, scientists,

nurses, genetic counselors, and ultrasound technicians. At its core, SMFM is committed to leading

the field of high-risk pregnancy care through evidence-based practices to optimize maternal and

fetal outcomes and assure medically appropriate treatment options are available to all patients. 27

        The Massachusetts Public Health Association d/b/a Massachusetts Public Health Alliance

(“MPHA”) is a nonprofit organization dedicated to advocating for health equity and strong public

health systems across the Commonwealth of Massachusetts. MPHA’s membership is comprised

of both individual and organizational public health leaders, including physicians, nurses,

community health center leaders, academic public health professionals, nonprofit executives, and

other frontline practitioners.28




         26
                   Ex. 19, Declaration of Andrew T. Pavia, MD, FAAP, FACP, FIDSA, dated July 4, 2025 (“Dr. Pavia
Decl.”) at ¶¶ 10, 11, 13.
         27
                   Ex. 20, Declaration of Sindhu K. Srinivas, MD, MSCE, dated July 7, 2025 (“Dr. Srinivas Decl.”) at
¶¶ 3–5.
         28
                   Ex. 21, Declaration of Carlene Pavlos, dated July 6, 2025 (“Pavlos Decl.”) at ¶¶ 3–5.



                                                         9
      Case 1:25-cv-11916-WGY                Document 16          Filed 07/07/25        Page 15 of 39




        All Association Plaintiffs have suffered and will continue to suffer greatly because of the

Directive. Indeed, the Directive is already undermining physician-patient trust, disrupting essential

immunization schedules for patients, creating dangerous confusion in the clinical setting, and

forcing physician members to choose between following HHS’s recommendations or expose

themselves to professional liability by following the standard of care that requires administering

previously recommended vaccines for pregnant women, which has been supported by scientific

studies for years.29

        Finally, Jane Doe is a physician working in a hospital where she puts herself at risk of

infectious diseases every day to care for patients and save lives, including patients with Covid or

those asymptomatically spreading the virus. Jane Doe is more than 20 weeks pregnant. Although

she was vaccinated for Covid before becoming pregnant, her doctors have advised her to get

another dose of the vaccine later in her pregnancy to better protect herself and her baby from

contracting this deadly disease. Pregnancy increases the risk of severe illness and complications

from Covid, including preterm birth and stillbirth. However, with the Secretary’s removal of the

Covid recommendation for pregnant women, the barriers to access the vaccine have left Jane and

her husband overwhelmed with stress and uncertainty. Her worries are not just for herself, but also

for the health and safety of her unborn child.30




        29
                  Ex. 10, Dr. Kressly Decl. ¶¶ 11, 17; Ex. 17, Dr. Goldman Decl. ¶¶ 28–29; Ex. 18, Dr. Benjamin
Decl. ¶ 21; Ex. 19, Dr. Pavia Decl. ¶ 20–21, 25; Ex. 20, Dr. Srinivas Decl. ¶¶ 6–8; Ex. 21, Pavlos Decl. ¶¶ 7–8.
         30
                  Ex. 4, Jane Doe Decl. ¶¶ 4, 6, 7, 9–10.



                                                      10
      Case 1:25-cv-11916-WGY                 Document 16           Filed 07/07/25        Page 16 of 39




E.      Harmful Repercussions Of The Secretary’s Baseless Directive To Change the CDC
        Vaccination Recommendations

                 1.       Pregnancy

        The FDA, the ACIP, and the CDC have researched and analyzed the safety and

effectiveness of Covid vaccination during pregnancy for years, including analysis and

consideration of peer-reviewed studies specifically investigating the safety and effectiveness of

administering Covid vaccinations during pregnancy.31

        In the MMWR published on December 18, 2020, 32 the CDC referred providers consulting

with pregnant patients regarding the Covid vaccination to materials stating, “[i]f pregnant people

are part of a group that is recommended to receive a COVID-19 vaccine (e.g., healthcare

personnel), they may choose to be vaccinated.”33 Since then, pregnant individuals have

consistently been included in broader Covid vaccine recommendations. For example, presentations

delivered during the February 2021 meeting of the Advisory Committee on Immunization

Practices (ACIP) included information from evidence-based, peer-reviewed studies showing that

(1) “pregnant people with COVID-19 have an increased risk of severe illness” and (2) the FDA-

approved Covid vaccines were “unlikely to pose a risk to the pregnant person or fetus” because

they are inactivated vaccines.34

        Similar evidence-based, peer-reviewed, scientific research has consistently shown that the

Covid vaccine is a safe and effective way to prevent pregnant individuals, who have a higher risk




        31
                    Ex. 20, Dr. Srinivas Decl. ¶ 8.
        32
                    Sara E. Oliver et al., The Advisory Committee on Immunization Practices’ Interim Recommendation
for Use of Pfizer-BioNTech COVID-19 Vaccine––United States, 69 Morbidity & Mortality Weekly Rep. 1922, 1923
(Dec. 18, 2020), https://www.cdc.gov/mmwr/volumes/69/wr/mm6950e2.htm.
         33
                    Ex. 22, CDC, Interim Clinical Considerations for Use of mRNA COVID-19 Vaccines Currently
Authorized in the United States (December 30, 2020).
         34
                    CDC, Advisory Committee on Immunization Practices Summary Report, at 67 (February 28–March
1, 2021), https://stacks.cdc.gov/view/cdc/113294.



                                                        11
      Case 1:25-cv-11916-WGY                Document 16          Filed 07/07/25        Page 17 of 39




of severe illness from Covid, from contracting the disease. 35 In fact, at the June 25, 2025, ACIP

meeting, CDC staff closely monitoring studies regarding potential adverse effects of administering

the Covid vaccine during pregnancy reported that “[a]cross CDC studies, evidence shows NO

increased risk of” serious adverse maternal, pregnancy, or infant outcomes resulting from the

administration of the Covid vaccine during pregnancy. 36

        By contrast, to date, no data has been presented suggesting that pregnant individuals should

not receive Covid vaccines.37

                 2.      Children

        Since the inception of the Covid vaccine, HHS regulatory agencies, advisory committees,

and divisions have engaged in rigorous analyses and conducted extensive reviews of safety and

efficacy data for specific age groups to determine whether to recommend administration of the

vaccine to children. On June 18, 2022, after years of carefully analyzing the safety and

effectiveness data and evaluating the balance of the risks compared to the severity of the disease

across all age brackets, the FDA, the ACIP, and the CDC unwaveringly recommended that the

Covid vaccine be administered to children ages six months to 17 years old. 38

        The decision to rescind the Covid recommendation for children, issued via the Directive,

is in direct opposition with the data the CDC has relied on since its approval of the first Covid

vaccination in December 2020. In his Directive, the Secretary stated, “Based on a review of the




        35
                  See Ex. 11, Moser Decl. ¶ 11; Lakshmi Panagiotakopoulos, Use of 2025–2026 COVID-19 Vaccines:
Work Group Considerations, CDC ACIP Meeting, at pp. 11, 53 (April 15, 2025) (hereinafter “April 2025 ACIP Covid-
19    Presentation”),    https://www.cdc.gov/acip/downloads/slides-2025-04-15-16/05-Panagiotakopoulos-COVID-
508.pdf.
         36
                  Sarah Meyer, Update on CDC’s COVID-19 Vaccine Safety Monitoring, CDC ACIP Meeting, at p.
29 (June 25, 2025) (emphasis in original), https://www.cdc.gov/acip/downloads/slides-2025-06-25-26/04-Meyer-
COVID-508.pdf.
         37
                  Id.
         38
                  Ex. 10, Dr. Kressly Decl. ¶ 21.



                                                      12
      Case 1:25-cv-11916-WGY             Document 16         Filed 07/07/25       Page 18 of 39




recommendation of the FDA and National Institutes of Health (NIH), I have determined that the

known risks associated with use of COVID-19 vaccines in healthy U.S. children ages six months

to 17 years do not outweigh the purported benefits of the vaccine. Accordingly, the HHS

Secretarial Directives ratifying the CDC recommendations for use of COVID-19 vaccines for

children ages six months to 17 years and [sic] are rescinded” and “the CDC is directed to remove

COVID-19 vaccines from the recommended Child and Adolescent Immunization Schedule by

Age….”39

        Inexplicably, instead of following the Secretary’s Directive, the CDC has downgraded the

Covid recommendation for all children to SCDM.40 Notably, no evidence-to-recommendation

framework was created, evaluated, or presented to the ACIP for consideration before this change

was made.41

                                        III.     ARGUMENT

A.      Preliminary Injunction Standard

        To issue a preliminary injunction, the district court considers: “(i) the movant’s likelihood

of success on the merits of its claims; (ii) whether and to what extent the movant will suffer

irreparable harm if the injunction is withheld; (iii) the balance of hardships as between the parties;

and (iv) the effect, if any, that an injunction (or the withholding of one) may have on the public

interest.” Corp. Techs., Inc. v. Harnett, 731 F.3d 6, 9 (1st Cir. 2013) (citing Ross–Simons of

Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 15 (1st Cir. 1996)). When the government is a

defendant in the suit, the final two factors merge. Nken v. Holder, 556 U.S. 418, 435–36 (2009).




        39
                 Ex. 5, Secretarial Directive.
        40
                 Ex. 17, Dr. Goldman Decl., Ex. B at p. 68; Ex. 23, CDC, Child and Adolescent Immunization
Schedule by Age (July 2, 2025).
        41
                 See Ex. 17, Dr. Goldman Decl. ¶¶ 21–24.



                                                   13
      Case 1:25-cv-11916-WGY            Document 16        Filed 07/07/25      Page 19 of 39




B.     The Court Has Jurisdiction over the Legal Claims

               1.      Article III Standing

       “For a legal dispute to qualify as a genuine case or controversy, at least one plaintiff must

have standing to sue.” Dept. of Commerce v. New York, 139 S. Ct. 2551 (2019). Standing requires

three elements: (1) an injury in fact that is actual or imminent, not conjectural or hypothetical; (2)

caused by a party before the court; and (3) the injury is likely to be redressed by a favorable

decision. Id. (citing Davis v. Fed. Elec. Comm’n, 554 U.S. 724, 733 (2008)); Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560-61 (1992).

       “[A]n association has standing to bring suit on behalf of its members when: (a) its members

would otherwise have standing to sue in their own right; (b) the interests it seeks to protect are

germane to the organization’s purpose; and (c) neither the claim asserted nor the relief requested

requires the participation of individual members in the lawsuit.” Hunt v. Wash. State Apple Advert.

Comm’n, 432 U.S. 333, 343 (1977); see also In re Fin. Oversight & Mgmt. Bd. for Puerto Rico,

110 F.4th 295, 308 (1st Cir. 2024). Only one member of an organization need have individual

standing in order for that organization to satisfy the first Hunt factor. Ass’n of Am. Univs. v. Dep’t

of Energy, 2025 WL 1414135, at *8 (D. Mass. May 15, 2025) (citing Playboy Enters., Inc. v. Pub.

Serv. Comm’n of P.R., 906 F.2d 25, 34 (1st Cir. 1990)). “Whether an association has standing to

sue on behalf of its members ‘depends in substantial measure on the nature of the relief sought.’ ”

Ass’n of Am. Univs. v. Nat’l Sci. Found., 2025 WL 1725857, at *7 (D. Mass. June 20, 2025)

(quoting Int’l Union, United Auto., Aerospace & Agr. Implement Workers of Am. v. Brock, 477

U.S. 274, 287 (1986)). Actions seeking declaratory, injunctive, and other forms of prospective

relief “have generally been held particularly suited to group representation.” Id. (quoting Camel

Hair & Cashmere Inst. of Am., Inc. v. Associated Dry Goods Corp., 799 F.2d 6, 12 (1st Cir. 1986)).




                                                 14
       Case 1:25-cv-11916-WGY                   Document 16            Filed 07/07/25           Page 20 of 39




         Jane Doe has demonstrated that the Directive has caused her an actual, concrete injury.

Jane Doe faces an impossible decision: try to get the Covid vaccine now, if even possible, which

will be less beneficial for her unborn baby during the upcoming viral respiratory season, or wait

until later in her pregnancy in the hopes that she can access a Covid vaccine to give her baby

stronger immunity through viral respiratory season. 42 The Directive states that she should not have

access the vaccine at all. Indeed, Jane Doe now faces a dangerous gamble with her and her baby’s

health because of the Directive.43 A decision vacating the Directive will redress the life-threatening

harm Jane Doe and her unborn child currently face.

         The Association Plaintiffs also have standing because each Association Plaintiff’s

members are suffering irreparable harm absent a decision vacating the Directive. Indeed, each

Association Plaintiff attests that its physician and public health members are currently facing an

untenable conflict between: (i) following the Secretary’s non-evidence-based decision by refusing

to provide Covid vaccines for pregnant individuals and children, thereby delivering an inferior

standard of care that increases the risk of preventable illness, hospitalization and death, or (ii)

recommending and administering the Covid vaccine in violation of the Directive, if they can even

obtain for these populations,44 and risk professional repercussions.45 Further, all Association

Plaintiffs report that their physician members’ pregnant and pediatric patients face widespread



         42
                   Ex. 4, Jane Doe Decl. ¶ 10.
         43
                   Id. ¶ 11.
         44
                   See Ex. 10, Dr. Kressly Decl. ¶ 17; Ex. 17, Dr. Goldman Decl. ¶ 28; Ex. 18, Dr. Benjamin Decl. ¶
21; Ex. 19, Dr. Pavia Decl. ¶ 24; see also Ex. 16, Dr. Hopkins Decl. ¶ 32 (stating that, as of the date of his declaration,
Dr. Hopkins is unable to order the Covid vaccine for children eligible for the VFC program); Dr. Scott-Vernaglia
Decl. ¶¶ 13–19 (stating that, the pediatric clinic she works in has run out of Covid vaccines to give to distribute to
pediatric patients; including one patient who could not receive a Covid vaccine at the patient’s wellness appointment
in June 2025 and had to return with his family on another day when the clinic was able to obtain more doses, causing
harm and disruption to his family); Ex. 24, Declaration of Regina LaRocque dated July 5, 2025 (“Dr. LaRocque
Decl.”) at ¶¶10, 13; Ex. 25, Declaration of J. Edward Johnson dated July 7, 2025 (“Johnson Decl.”) at ¶¶ 26, 32.
         45
                   Ex. 10, Dr. Kressly Decl. ¶¶ 17; Ex. 13, Dr. O’Shea Decl. ¶¶ 9–10; Ex. 17, Dr. Goldman Decl. ¶
28.; Ex. 18, Dr. Benjamin Decl. ¶ 21; Ex. 19, Dr. Pavia Decl. ¶ 24, 25; Dr. Scott-Vernaglia Decl. ¶¶ 20–22; Ex. 24,
Dr. LaRocque Decl. at ¶¶11-13; Ex. 25, Johnson Decl. at ¶¶26, 32.



                                                           15
      Case 1:25-cv-11916-WGY                  Document 16           Filed 07/07/25          Page 21 of 39




confusion regarding whether they can receive the Covid vaccine, frustrating members’ ability to

consult with their patients and eroding patients’ trust in vaccine recommendations across the board,

not just the Covid vaccine.46 As the Association Plaintiffs’ members practice nationwide, group

representation is thus suitable for this case.47 Therefore, absent an order vacating the Directive,

Plaintiffs Associations and the patients that their members are responsible for protecting will

continue to experience preventable illness, hospitalizations, and death. Consequently, Plaintiffs

have standing to sue.

                  2.       APA Standing and Jurisdiction

         This Court has jurisdiction to hear this case under the Administrative Procedure Act

(“APA”), which provides that any “person suffering legal wrong because of agency action . . . is

entitled to judicial review thereof” where they are “seeking relief other than money damages.” 5

U.S.C. § 702. Because Plaintiffs seek equitable relief enjoining final agency action, the APA

provides for judicial review in district court. See generally 5 U.S.C. § 704; Bowen v.

Massachusetts, 487 U.S. 879 (1988).

         “Before proceeding to judicial review, the court must ensure the agency action is

considered ‘final’ and thus ripe for review.” Massachusetts v. Nat’l Inst. of Health, 770 F. Supp.

3d 277, 303 (D. Mass. 2025) (citing 5 U.S.C. § 704). An agency action is final if it (1) marks the

consummation of the government’s decision-making process and is not “merely tentative or



         46
                   See Ex. 10, Dr. Kressly Decl. ¶¶ 13, 15; Ex. 13, Dr. O’Shea Decl. ¶ 6; Ex. 19, Dr. Pavia Decl. ¶¶
2,8; Ex. 12, Dr. Jhaveri Decl. ¶ 11; Ex. 15, Dr. Rouse Decl. at ¶¶ 2,8; Ex. 17, Dr. Goldman Decl. ¶¶ 28, 30; Ex. 18,
Dr. Benjamin Decl. ¶¶ 21–23; Ex. 10, Dr. Kressly Decl. ¶ 23–24; Dr. Scott-Vernaglia Decl. ¶ 20; Ex. 24, Dr.
LaRocque Decl. at ¶10.
         47
                   See Ex. 10, Dr. Kressly Decl. ¶ 7; Ex. 18, Dr. Benjamin Decl. ¶ 9; Ex. 17, Dr. Goldman Decl. ¶ 7;
Ex. 19, Dr. Pavia Decl. ¶ 13. Moreover, should Defendants argue, or the Court have any doubt, the Supreme Court’s
recent decision in Trump v. CASA, Inc., does not apply to the relief the Plaintiffs seek in this case under 5 U.S.C. §
706(2) to vacate the May 19 Secretarial Directive. Trump v. CASA, Inc., 2025 WL 1773631, at *8 n.10 (U.S. 2025)
(“Nothing we say today resolves the distinct question whether the Administrative Procedure Act authorizes federal
courts to vacate federal agency action.” (citing 5 U.S.C. § 706(2) (authorizing courts to “hold unlawful and set aside
agency action”)).



                                                         16
      Case 1:25-cv-11916-WGY               Document 16         Filed 07/07/25        Page 22 of 39




interlocutory” and (2) is an action “from which rights and obligations have been determined, or

from which legal consequences will flow.” Id. (quoting Bennett v. Spear, 520 U.S. 154, 177–78

(1997)).

        The Directive is the authoritative pronouncement of HHS’s recommendations pertaining

to the administration of the Covid vaccination to (1) children between the ages of six months and

17 years old and (2) pregnant people. Nothing in the Directive indicates that it is tentative or subject

to further review, nor is it an abstract policy statement. Indeed, on May 29, 2025, the CDC changed

the Child and Adolescent Immunization Schedule by Age and the Adult Immunization Schedule

by Age in response to the Directive.48 This directly informs ACA coverage requirements and

dictates the standard of care the CDC promotes and recommends to providers administering

vaccinations.

C.      Plaintiffs Have Established A Substantial Likelihood Of Success On The Merits

                1.       The Secretary’s Action Is Arbitrary And Capricious.

        Under the APA, agency action must be set aside where it is “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). The Directive falls

well within this standard.

        An agency’s action is arbitrary and capricious if it “relied on factors which Congress has

not intended it to consider, entirely failed to consider an important aspect of the problem, offered

an explanation for its decision that runs counter to the evidence before the agency, or is so

implausible that it could not be ascribed to a difference in view or the product of agency expertise.”

Motor Vehicle Mfrs. Assn. of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).




        48
                 See Ex.8, CDC, Child and Adolescent Immunization Schedule by Age (May 29, 2025); Ex. 6, CDC,
Adult Immunization Schedule by Age (May 29, 2025).



                                                     17
     Case 1:25-cv-11916-WGY            Document 16         Filed 07/07/25      Page 23 of 39




Courts must ensure that an agency’s decisions “are founded on a reasoned evaluation of the

relevant factors” by “carefully reviewing the record and satisfying itself that the agency has made

a reasoned decision.” Id. (quoting Massachusetts v. Nat’l Inst. of Health, 2025 WL 702163 at *16

(D. Mass. Mar. 5, 2025)).

       The APA serves as a check against executive authority and the unelected administrators

“whose zeal might otherwise have carried them to excesses not contemplated.” Loper Bright

Enters. v. Raimondo, 603 U.S. 369, 391 (2024) (quoting United States v. Morton Salt Co., 338

U.S. 632, 644 (1950)). Ultimately, the APA cabins federal agencies within the confines of

accountability to the public and the courts. See Am. Pub. Health Ass’n v. Nat’l Inst. of Health, Case

No. 1:25-cv-10814-WGY, ECF No. 163 at *78 (D. Mass. July 2, 2025).

       The following factors illustrate the serious flaws in the Directive, rendering it arbitrary and

capricious and inconsistent with the law.

                       a.      The Secretary’s Directive Lacks Reasoned Decision-Making Or
                               An Explanation For The Change In Position.

       Agency action must be reasonable and reasonably explained to withstand scrutiny under

the arbitrary and capricious standard. FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021).

While arbitrary and capricious review is narrow, it does demand that an agency engage in some

reasoned decision-making. Am. Pub. Health Ass’n, Case No. 1:25-cv-10814-WGY, ECF No. 163

at *83. At bottom, arbitrary and capricious review is a search for some satisfactory explanation for

the agency’s action. Id. (quoting Ohio v. E.P.A., 603 U.S. 279, 292 (2024)).

       The Directive fails to meet this low bar and lacks any “genuine justification” or reason that

the courts and the public can scrutinize. Dep’t. of Comm., 588 U.S. at 785 (2019). Indeed, data the

CDC presented to the ACIP on June 25, 2025, directly contradicts the Secretary’s assertions in his




                                                 18
       Case 1:25-cv-11916-WGY                  Document 16           Filed 07/07/25          Page 24 of 39




May 27, 2025, announcement.49 Moreover, the Directive is devoid of any citations to a single peer-

reviewed study or any research, data, or findings to support or substantiate the Secretary’s

determination that the Covid vaccine is not necessary for children or pregnant women. This failure

is egregious, not only in light of the scourge of deaths Covid has caused since 2020, but also

because it is directly at odds with years’ worth of carefully considered, evidenced-based ACIP

recommendations regarding the safety and effectiveness of the administration of the Covid vaccine

for pregnant women and healthy children and because it overtly contradicts the standard of care

that physician members have followed since the CDC’s approval of the Covid vaccination. 50

         This stark contrast highlights the Secretary’s failure to “examine the relevant data and

articulate a satisfactory explanation” for his action, “including a rational connection between the

facts found and choices made.” State Farm, 463 U.S. at 43 (cleaned up); see also Am. Ass’n. of

Colls. For Teacher Educ., 2025 WL 833917, at *21 (use of boilerplate corroborates that agency

failed to “consider individual, or any, data or information,” in violation of the APA). The Secretary

makes no effort to grapple with or address these inconsistencies and realities, and he offers no

reasons for his action. Fox v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009). Instead, the

Directive operates as though the evidence to the contrary does not exist. There is no satisfactory

explanation for this action or rational connection between the objective facts and the Directive’s

rescission and removal of Covid vaccine recommendations, as required to survive arbitrary and

capricious scrutiny. Little Sisters of the Poor Saints Peter and Paul Home v. Pennsylvania, 591

U.S. 657, 682–83 (2020); see also Penobscot Air Servs., Ltd. v. FAA, 164 F.3d 713, 719 (1st Cir.

1999).



         49
                  See April 2025 ACIP Covid-19 Presentation, supra note 35, at pp. 11, 53.
         50
                  Ex. 18, Dr. Benjamin Decl. ¶¶ 17, 18, 21; Ex. 12, Dr. Jhaveri Decl. ¶¶ 7, 10; Ex. 15, Dr. Rouse Decl.
¶ 8; Ex. 13, Dr. O’Shea Decl. ¶¶ 1, 4, 9.



                                                          19
      Case 1:25-cv-11916-WGY              Document 16          Filed 07/07/25         Page 25 of 39




       The Directive offers nothing for this Court or the public to credibly weigh to determine the

sufficiency of the reasoning or underpinnings of the Secretary’s decision. This leaves no basis to

ensure that the Secretary acted within a “zone of reasonableness” and compels the conclusion that

the Secretary did not “reasonably consider[] the relevant issues and reasonably explain[] the

decision,” strongly signaling that the Secretary’s actions are arbitrary and capricious. Federal

Commc’ns Comm’n. v. Prometheus Radio Project, 592 U.S. 414, 423 (2021).

       For these same reasons, the Directive also fails arbitrary and capricious review because it

did not articulate or explain the drastic change in agency position or policy. While an agency may

modify its policies, the APA “ordinarily demand[s] that [the agency] display awareness that it is

changing position” and “show that there are good reasons for the new policy.” FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 515 (2009). While the Secretary may have acknowledged

the former, he has not addressed the latter.

       For years, the federal government has included the Covid vaccine on the Schedules for

children and pregnant women.51 The Association Plaintiffs have relied on and grown to trust the

scientific, evidence-based process and procedure which the ACIP, historically comprised of

genuine subject-matter experts, has followed for years in order to make recommendations for the

Schedules. In one fell swoop, the Directive has destroyed the trust that the Association Plaintiffs

have had in the ACIP recommendation process and the resulting CDC Schedules. 52

       The Directive upends this longstanding practice without any “reasoned analysis for the

change.” See State Farm, 463 U.S. at 42. Moreover, the Directive rests on assertions that contradict

prior HHS policy, evincing a lack of decision-making premised on the application of agency




       51
               See Ex. 2, Summary of COVID-19 Vaccine Approval and Recommendations.
               52
                  Ex. 10, Dr. Kressly Decl. ¶¶ 19–20; Dr. Pavia Decl. ¶¶ 14–16; Dr. Goldman Decl. ¶¶ 9–12.



                                                    20
      Case 1:25-cv-11916-WGY             Document 16           Filed 07/07/25      Page 26 of 39




expertise. A.M. L. Int’l., Inc. v. Daley, 107 F.Supp.2d 90, 97 (D. Mass. Jul. 28, 2000). Neither the

Directive nor the Secretary’s announcement on X describe why this change in agency policy is

occurring; rather, this change rests entirely on unsupported, conclusory assertions that “healthy

kids” and “healthy pregnant women” don’t need the Covid vaccine. 53 This departure from years

of public health policy without any supporting evidence is precisely the type of “inscrutable

reasoning” that is “facially irrational,” Marasca & Nesselbush, LLP v. Collins, 6 F. 4th 150, 173

(1st Cir. 2021), or “devoid of data or any independent explanation,” Rhode Island v. Trump, 2025

WL 1303868, at *11 (D. Mass. May 6, 2025).

        Finally, the Directive is arbitrary and capricious for lack of reasoned decision-making

because it is an impermissible pretext for nothing more than naked partisan politics. Dep’t of

Comm. v. New York, 588 U.S. 752, 785 (2019). The Secretary closed his remarks on X by tying

his directive back to the “Make America Healthy Again” (“MAHA”) initiative, a political

movement that intentionally echoes and parallels the political slogan, “Make America Great

Again” (“MAGA”).54 As part of this MAHA initiative, the Secretary has repeatedly promoted his

personal anti-vaccination viewpoints, stacked the ACIP and HHS leadership with persons who

agree with his view on vaccines, and now, with the Directive, changed the CDC Schedules with

no reasoned explanation or support.

        Although political considerations may influence agency actions, this cannot substitute or

displace the requirement for reasoned decision-making. See Dep’t of Homeland Sec’y v. Regents

of the Univ. of Cal., 591 U.S. 1, 16 (2020) (observing that engaging in reasoned decision-making

is a necessary component to agency action). Formulating agency action based on political



        53
                 See       @SecKennedy,        X        (May       27,     2025,       10:16       AM),
https://x.com/SecKennedy/status/1927368440811008138.
          54
                 Id.



                                                   21
      Case 1:25-cv-11916-WGY             Document 16       Filed 07/07/25      Page 27 of 39




motivations alone is no different from taking agency action for pretextual reasons, as prior

administrations have attempted. See Dep’t of Comm., 588 U.S. at 782–85. Even a political body

such as Congress could not have intended for something as critical as national public health policy

to be based on reasonless pretext. State Farm, 463 U.S. at 43. In this instance, the Directive fails

because the unsupported and unfounded statements he offers to justify his action are nothing more

than a pretext to fulfill a politically-motivated end.

                        b.      The Secretary Failed To Consider Important Aspects Of How
                                Changes To The National Vaccine Schedule Would Impact The
                                Health Care Industry.

        The Directive is arbitrary and capricious because it failed to consider important issues

relevant to the longstanding national and state statutory and regulatory framework surrounding

decisions regarding the CDC’s immunization schedules for adults and children. Agency action

cannot ignore or fail to consider important aspects of the problem sought to be remedied. State

Farm, 463 U.S. at 43. By issuing this Directive and changing the Schedules, the Secretary set into

motion a policy that stands to disrupt multiple aspects of the American health care ecosystem.

        The Schedules and their recommendations have wide-ranging effects far beyond who is

able to be vaccinated and when. The complex landscape of federal and state laws that govern

American health care rely on the Schedules to inform many aspects of operations. For example,

while VFC providers are required to vaccinate eligible patients according to the Schedules, these

providers are only required to stock vaccines designated as “routine.” 55 The Directive removing

the Covid vaccine from the routine child and adolescent immunization schedule, and the

reclassification of the vaccine to SCDM, thus jeopardizes access to the vaccine for children in the




        55
                 CDC, VFC Operations Guide, at p. 82 (July 1, 2024), https://www.cdc.gov/vaccines-for-
children/media/pdfs/2024/08/vfc-ops-guide_version-4.0_july-2024_low-res-508-rev-2.pdf.



                                                  22
     Case 1:25-cv-11916-WGY            Document 16        Filed 07/07/25      Page 28 of 39




VFC program. Further, the rescission of vaccination recommendations directly impacts whether

the CDC is required to contract for the procurement and distribution of vaccines covered under the

VFC program. See 42 U.S.C. § 1396s(e) (“The Secretary shall use, for the purpose of the purchase,

delivery, and administration of pediatric vaccines under this section, the list established (and

periodically reviewed and as appropriate revised) by the Advisory Committee on Immunization

Practices.”). Similarly, the Schedules affect health insurance cost-sharing obligations under the

ACA. Children and pregnant women who once were able to access a vaccine free of charge or

without difficulty will now face potential out-of-pocket expenses or an outright inability to receive

Covid vaccinations because of the Directive.

       The APA requires the Secretary to consider these reliance interests, the ways in which his

action could necessitate changes throughout the nation’s health care system, and to explain why

such a sudden change in policy is warranted. See FDA v. Wages & White Lion Invs., LLC, 145

S.Ct. 898, 916-19 (2025). The Secretary has offered nothing indicating that HHS took into

consideration any of these foreseeable, well-documented public health implications that the

Directive directly impacts. This conduct is precisely why the APA dictates that, “[w]hen an agency

changes course . . . it must ‘be cognizant that longstanding policies may have engendered serious

reliance interests that must be taken into account.’” Dep’t. of Homeland Sec., 591 U.S. at 30

(cleaned up) (quoting Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 212 (2016)). Instead, the

Directive stands to unleash significant consequences for the Association Plaintiffs, the Association

Plaintiffs’ members, and the patients whom they serve, including Jane Doe.

                       c.      The Directive Fails Because It Is Contrary To Evidence.

       Perhaps the most glaring flaw in the Directive is its conflict with real-world facts and

evidence. The scientific and medical communities––and the CDC itself––all hold to and




                                                 23
      Case 1:25-cv-11916-WGY             Document 16           Filed 07/07/25      Page 29 of 39




promulgate evidence-based recommendations that directly contradict the thin rationale for

changing the Schedules.

        Determining if agency action is reasonable is measured by what the agency did rather than

by what it might have done. Am. Pub. Health Ass’n, Case No. 1:25-cv-10814-WGY, ECF No. 163

at *84 (quoting Green & Health Home Initiatives, Inc. v. E.P.A., 2025 WL 1697463, at *20 (D.

Md. June 17, 2025)). Conclusory statements are an insufficient basis for agency action, Amerijet

Int’l, Inc. v. Pistole, 753 F.3d 1343, 1350 (D.C. Cir. 2014) (quoting Butte Cnty., Cal. v. Hogen,

613 F.3d 190, 194 (D.C. Cir. 2010)), and the court’s inquiry is limited to the agency’s

contemporaneous, then-existing explanation in light of the existing record, Dep’t of Comm., 588

U.S. at 780.

        In his video announcing the recission and removal of well-established CDC vaccine

recommendations, the Secretary proclaimed that there isn’t “any clinical data to support the repeat

booster strategy in children.”56 Commissioner Makary reiterated this assertion by stating “there’s

no evidence healthy kids need it today, and most countries have stopped recommending it for

children.”57 None of these leaders, however, directed viewers to any evidence supporting these

statements.58 And a robust body of evidence directly contradicts these assertions and demonstrates

the safety, efficacy, and importance of maternal and childhood vaccination against Covid.

        To illustrate: the Secretary claimed that “the known risks associated with the use of

COVID-19 vaccines in healthy U.S. children ages six months to 17 years do not outweigh the

purported benefits of the vaccine,” and that vaccination during pregnancy poses potential risks to




        56
                 See       @SecKennedy,        X        (May       27,     2025,       10:16       AM),
https://x.com/SecKennedy/status/1927368440811008138.
          57
                 Id.
          58
                 Id.



                                                   24
      Case 1:25-cv-11916-WGY                 Document 16           Filed 07/07/25         Page 30 of 39




both the pregnant woman and her unborn child. 59 There is no—nor has there ever been—any

scientific, evidence-based analyses or peer-reviewed studies supporting either of these assertions.

First, these propositions stand directly at odds with the research and findings underlying the

professional guidelines that the Association Plaintiffs and their members have developed and

followed to ensure safe, reliable care and treatment to their patients. 60 This is the same body of

evidence that has come to shape and set the standard of care for these patients since the Covid

vaccine became available. Second, the Secretary’s assertions are contradicted by the CDC’s own

data, research, and fact sheets, demonstrating that the Directive and the Secretary’s statements are

also at odds with the very experts and professionals under his leadership charged with researching

and analyzing these exact issues.

        This tension between reality and the Secretary’s words illustrates exactly the kind of

incongruency that led the U.S. Supreme Court to overrule agency action under arbitrary and

capricious review in Department of Commerce v. New York. Department of Commerce, and it is

the same disconnect that moved courts to find against the government in similar proceedings. See

Dep’t. of Comm., 588 U.S. at 785 (observing the incongruency between the stated reasons for

agency action and the record before the Court); Am. Pub. Health Ass’n, Case No. 1:25-cv-10814-

WGY, ECF No. 163 at *87. As the Supreme Court has explained, judicial review of agency action

is deferential, but it is not bound by naivete. Dep’t. of Comm., 588 U.S. at 785 (quoting United

States v. Stanchich, 550 F.2d 1294, 1300 (2nd Cir. 1977)). Just as in Department of Commerce,

the Directive and the Secretary’s statements ask this Court to accept contrived reasons empty of




        59
                  Ex. 5, Secretarial Directive.
        60
                  Ex. 20, Dr. Srinivas Decl. ¶ 5, 8; Ex. 19, Dr. Pavia Decl. ¶¶ 14–17, 24; Ex. 17, Dr. Goldman Decl.
¶¶ 9–11, 23, 27; Ex. 10, Dr. Kressly Decl. ¶¶ 18–22.



                                                        25
     Case 1:25-cv-11916-WGY            Document 16       Filed 07/07/25      Page 31 of 39




any concrete evidence. This Court should follow in the footsteps of others and decline to acquiesce

to the blindness of the Secretary’s wishes imposed on the public.

               2.     The Secretary’s Action Was Not In Accordance With Law And Exceeds
                      The Secretary’s Authority.

       The Directive removing the Covid vaccine from the Schedules is contrary to law and

should be vacated pursuant to 5 U.S.C. § 706(2)(A). As described above, the process––if there

even was one––that led to the Directive suffers from multiple flaws. First, the Secretary abandoned

the long-established statutory and regulatory framework that governs how the ACIP conducts,

reviews, and makes recommendations for the Schedules, subject to CDC approval, without

providing any rationale for doing so. See, e.g., Morton v. Ruiz, 415 U.S. 199, 235 (1974). Second,

the Secretary failed to provide any reasons for the change in HHS’s position on the safety and

efficacy of Covid vaccinations, which itself contradicts the FDA’s determination that the vaccine

is safe and effective. This alone does not pass muster under State Farm and subsequent caselaw

because there is no rational connection between the Directive and the peer-reviewed, clinical

evidence by the FDA when it approved the vaccine as safe and effective. Third, by failing to

demonstrate any good reasoning for the change in policy, the Secretary ignores the basic teachings

of the Supreme Court in Fox Television Stations and Wages and White Lion Investments.

       Finally, by reversing the existing Covid vaccination recommendations without providing a

justification based on clinical evidence or a consensus of professional medical opinion, the

Secretary’s action contravenes the plain intent of Congress to have the Secretary “increase

awareness and knowledge of the safety and effectiveness of vaccines for the prevention and control

of diseases, [and] combat misinformation about vaccines . . . .” 42 U.S.C. § 245. Unfounded by

evidence-based science about vaccine safety and efficacy, the Directive furthers vaccine

misinformation and will dangerously decrease the vaccination rate for Covid in children ages 6



                                                26
      Case 1:25-cv-11916-WGY                 Document 16           Filed 07/07/25        Page 32 of 39




months through 17 years and pregnant women, increasing the risk of infection, disease, and death

in those populations.61

        Because the Directive is not the result of properly-exercised Congressional authority, it is

plainly contrary to law and must be set aside. See e.g., Health Ins. Ass’n of Am., Inc. v. Shalala,

23 F.3d 412, 416 (D.C. Cir. 1994) (explaining that a court may not accept “the agency’s policy

judgments. . . if they conflict with the policy judgments that undergird the statutory scheme”);

Texas v. Becerra, 89 F.4th 529, 541 (5th Cir. 2024) (upholding injunction against HHS enforcing

guidance it promulgated beyond its statutory authority); Tex. Med. Ass’n v. U.S. Dep’t of Health

& Human Servs., 110 F.4th 762, 774, 779–80 (5th Cir. 2024).

         If there is any lodestar in administrative law, it is that agencies are bound by the laws they

implement and cannot rewrite or ignore them. See, e.g., West Virginia v. EPA, 142 S. Ct. 2587,

2609 (2022) (“Agencies have only those powers given to them by Congress, and ‘enabling

legislation’ is generally not an ‘open book to which the agency [may] add pages and change the

plot line.’” (quoting E. Gellhorn & P. Verkuil, Controlling ChevronBased Delegations, 20

Cardozo L. Rev. 989, 1011 (1999)); City of Arlington v. FCC, 569 U.S. 290, 297 (2013) (“No

matter how it is framed, the question a court faces when confronted with an agency’s interpretation

of a statute it administers is always simply, whether the agency has stayed within the bounds of its

statutory authority”). By abandoning the will of Congress, the Directive is plainly contrary to law.

D.      Plaintiffs Will Suffer Irreparable Harm Absent Injunctive Relief

        Plaintiffs are suffering, and will continue to suffer, irreparable harm absent relief from the

Court vacating the Directive. As Americans watched the Covid pandemic unfold, Association




        61
                 See Ex. 19, Dr. Pavia Decl. ¶ 24; Ex. 17, Dr. Goldman Decl. ¶ 29; Ex. 15, Dr. Rouse Decl. ¶ 2; Ex.
16, Dr. Hopkins Decl. ¶ 33, 35.



                                                        27
      Case 1:25-cv-11916-WGY                  Document 16           Filed 07/07/25          Page 33 of 39




Plaintiff members were the front-line workers serving our country and risking their own lives to

prevent death and stop the deadly disease. Once vaccines against Covid were licensed and

recommended for use by the ACIP, Association Plaintiff members worked tirelessly to study and

administer the vaccines, promote their efficacy at curbing severe illness and death, and set clinical

guidelines recommending vaccination of their patients, like children and pregnant women,

consistent with the evidence. 62 The Directive reverses the progress made, leaving some of our most

vulnerable populations—children and pregnant women—afraid, misinformed, and at increased

risk of preventable illness and death. 63

         Association Plaintiffs’ members report that the Directive is undermining patient trust,

interfering with the practice of medicine according to best practices, disrupting essential

immunization schedules for patients, creating dangerous confusion in the clinical setting, and

forcing doctors to choose between following HHS’s recommendations or following the optimal

standard of care to protect their patients. 64 Either option exposes them to a heightened risk of

professional liability. Further, the Directive frustrates clinicians’ and other public health members’

ability to consult with individuals and their families or advise those communities regarding the

effectiveness of vaccination at preventing serious illness and death. 65 Because of vaccine hesitancy

and loss of trust that the Directive has created, Association Plaintiffs’ members are required to




         62
                  See Ex. 10, Dr. Kressly Decl. ¶¶ 20–21; Ex. 12, Dr. Jhaveri Decl. ¶¶ 6–7, Ex. 19, Dr. Pavia Decl. ¶¶
14–17; Ex. 15, Dr. Rouse Decl. ¶¶ 10–13; Ex. 18, Dr. Benjamin Decl. ¶¶ 10–13; Dr. Goldman Decl. ¶¶ 9–11, 13–16.
         63
                  Ex. 20, Srinivas Dec. ¶ 7; Ex. 4, Jane Doe Decl. ¶ 7; Ex. 12, Dr. Jhaveri Decl. ¶¶ 9–11; Ex. 19, Dr.
Pavia Decl. ¶¶ 23–30; Ex. 15, Dr. Rouse Decl. ¶¶ 8–11, 14; Ex. 18, Dr. Benjamin Decl. ¶¶ 19, 21–23; Ex. 17, Dr.
Goldman Decl. ¶¶ 28–33; Ex. 13, Dr. O’Shea Decl. ¶¶ 5–6; Ex. 16, Dr. Hopkins Decl. ¶¶ 23–24, 33–35; Ex. 10, Dr.
Kressly Decl. ¶¶ 12–14.
         64
                  Ex. 18, Dr. Benjamin Decl. ¶ 21; Ex. 12, Dr. Jhaveri Decl. ¶ 10; Ex. 15, Dr. Rouse Decl. ¶ 8; Ex.
17, Dr. Goldman Decl. ¶¶ 27–29; Ex. 13, Dr. O’Shea Decl. ¶¶ 4, 8–10; Ex. 10, Dr. Kressly Decl. ¶ 17.
         65
                  Ex. 18, Dr. Benjamin Decl. ¶ 22; Ex. 10, Dr. Kressly Decl. ¶ 12; Ex. 12, Dr. Jhaveri Decl. ¶11; Ex.
19, Dr. Pavia Decl. ¶¶ 24, 27–29; Ex. 17, Dr. Goldman Decl. ¶¶ 31, 33.



                                                         28
      Case 1:25-cv-11916-WGY                 Document 16           Filed 07/07/25        Page 34 of 39




spend more time correcting vaccine misinformation with patients regarding the effectiveness of

the Covid vaccines and other vaccines. 66

        Moreover, Jane Doe’s impossible position, which forces her to gamble with her own and

her baby’s health, is putting needless stress and anxiety on her and other expecting mothers. 67

Pregnant persons are at greater risk for morbidity and mortality if they contract Covid, and

contracting the disease while pregnant also puts the unborn child at risk for preterm birth and other

complications, up to and including stillbirth or death. 68 Prohibiting Jane Doe, other pregnant

women, and children across the U.S. from accessing the Covid vaccine irreparably endangers

lives.69 Therefore, the Directive must be vacated.

E.      The Balance Of Hardships And The Public Interest Weigh In Favor Of An
        Injunction.

        The balance of harms here unquestionably weighs in favor of the Plaintiffs and compels

preliminary injunctive relief. See Does 1–6 v. Mills, 16 F.4th 20, 37 (1st Cir. 2021) (noting the

balance of equities and the public interest “merge when the [g]overnment is the opposing party”)

(quoting Nken v. Holder, 556 U.S. 418, 435 (2009)).

         First and foremost, “[c]ourts have consistently held that there is a strong public interest in

health and safety.” Massachusetts v. Nat’l Insts. of Health, 770 F.Supp.3d 277, 326 (D. Mass.

2025). Without injunctive relief, the Directive—an unscientific, arbitrary, and capricious decree

made without the support of a scintilla of evidence or rationale—will remain in place along with

the barriers the Directive creates to pregnant individuals and children accessing vaccines. As




        66
                 Ex. 18, Dr. Benjamin Decl. ¶ 23; Ex. 10, Dr. Kressly Decl. ¶ 16; Ex. 16, Dr. Hopkins Decl. ¶¶ 23,
35.
        67
                 Ex. 4, Jane Doe Decl. ¶¶ 7, 10.
                 68
                   Id. at ¶ 7; Ex. 18, Dr. Benjamin Decl. ¶ 17; Ex. 15, Dr. Rouse Decl. ¶ 6.
         69
                 Ex. 13, Dr. O’Shea Decl. ¶ 7; Ex. 18, Dr. Benjamin Decl. ¶ 14; Ex. 12, Dr. Jhaveri Decl. ¶ 12; Ex.
15, Dr. Rouse Decl. ¶¶ 1, 3.



                                                        29
      Case 1:25-cv-11916-WGY             Document 16        Filed 07/07/25       Page 35 of 39




discussed in more detail above, the Directive will reduce the number of pregnant individuals and

children whose physicians recommend the vaccine to them. Of the group whose physicians

recommend the vaccine notwithstanding the Directive, many will encounter difficulty accessing

the vaccine because the Secretary’s Directive has sown doubt as to pharmacists’ authority to

administer the vaccine. Like a matryoshka doll, the group is further diminished by the number of

individuals whose health insurers refuse to pay for the vaccine under the Directive and for whom

paying out of pocket for whatever price the pharmacy decides to charge is not feasible. As a result,

the number of individuals vaccinated against Covid will decrease, which will result in increased

rates of infection and an accompanying rise of severe symptoms and death among the entire

population. Separate and apart from the actual health repercussions, the Covid pandemic taught us

that disruption to public health is also a disruption to business and the economy, maintaining the

stability of which are both squarely within the public interest.

        The Directive also interferes with the important relationship of trust between physicians

and their patients— a relationship that is so reliant on trust that it warrants its own exception to the

hearsay rule under the Federal Rules of Evidence. See Fed. R. Evid. 803(4). Degrading the trust in

the physician-patient relationship undermines the physician’s ability to provide effective advice

and treatment, harming both their reputations and their businesses while destroying health

outcomes for their patients.

        Additionally, the public has an “important interest” in ensuring that government agencies

follow the law. Neighborhood Ass’n of the Back Bay, Inc. v. FTA, 407 F. Supp. 2d 323, 343 (D.

Mass. 2005) (“[T]he public has an important interest in making sure government agencies follow

the law.”); see also Clarke v. Office of Fed. Hous. Enter. Oversight, 355 F. Supp. 2d 56, 66 (D.D.C.

2004) (noting a “substantial public interest” in ensuring that a federal agency “acts within the limits




                                                  30
     Case 1:25-cv-11916-WGY               Document 16        Filed 07/07/25      Page 36 of 39




of its authority”). And “[t]here is generally no public interest in the perpetuation of unlawful

agency action.” Planned Parenthood of N.Y.C., Inc. v. HHS, 337 F. Supp. 3d 308, 343 (S.D.N.Y.

2018).

          Without an injunction, there will be nothing stopping the Secretary from continuing to

make unfounded actions that disregard the boundaries of his delegated authority.

          By contrast, no harm will befall the government if the Court issues injunctive relief. To the

contrary, an injunction vacating the Directive would rid the government of an unlawful exercise

of authority and would be a net positive for the government as well as the people it serves. See

Massachusetts v. Kennedy, 1:25-cv-10814, at 29–30 (citing R.I.L-R v. Johnson, 80 F.Supp.3d 164,

191 (D.D.C. 2015) and League of Women Voters of U.S. v. Newby, 838 F.3d 1, 343 (D.C. Cir.

2016)).

                                        IV.    CONCLUSION

          For the foregoing reasons, the Court should grant Plaintiffs’ motion for preliminary

injunction and declaratory relief and enter an Order (1) declaring unlawful and setting aside the

Directive as arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law

under the APA, vacating the Directive nationwide; (2) ordering the restoration of the Covid

vaccine recommendations for healthy children ages six months to 17 years and pregnant women

to the CDC immunization schedules posted on the CDC’s website; (3) ordering the Secretary to

announce on X that those immunizations are now reinstated to the CDC immunization schedules;

and (4) entering a preliminary injunction barring Defendants from enforcing, publicizing, or

otherwise encouraging any person or court to follow or to defer to the challenged Directive dated

May 19, 2025, on Pediatric Covid-19 Vaccines for Children Less Than 18 Years of Age and

Pregnant Women.




                                                   31
     Case 1:25-cv-11916-WGY   Document 16     Filed 07/07/25    Page 37 of 39




July 7, 2025                      Respectfully submitted,

                                  EPSTEIN BECKER & GREEN, P.C.

                                  By:    /s/ Elizabeth McEvoy
                                  Elizabeth McEvoy (BBO No. 683191)
                                  One Financial Center, Suite 1520
                                  Boston, MA 02111
                                  Tel: 617.603.1100
                                  Fax: 617.249.1573
                                  Email: emcevoy@ebglaw.com

                                  Richard H. Hughes IV (pro hac vice pending)
                                  Stuart M. Gerson (pro hac vice pending)
                                  Robert Wanerman (pro hac vice pending)
                                  William Walters (pro hac vice pending)
                                  1227 25th Street, N.W., Suite 700
                                  Washington, DC 20037
                                  Tel: 202.861.0900
                                  Fax: 202.296.2882
                                  Email: RHHughes@ebglaw.com
                                         sgerson@ebglaw.com
                                         rwanerman@ebglaw.com
                                         wwalters@ebglaw.com

                                  James J. Oh (pro hac vice pending)
                                  Kathleen Barrett (pro hac vice pending)
                                  Carolyn O. Boucek (pro hac vice pending)
                                  Lydia Pincsak (pro hac vice pending)
                                  227 W. Monroe Street, Suite 4500
                                  Chicago, IL 60606
                                  Tel: 312.499.1400
                                  Fax: 312.845.1998
                                  Email: joh@ebglaw.com
                                         kbarrett@ebglaw.com
                                         cboucek@ebglaw.com
                                         lpincsak@ebglaw.com

                                  Jeremy A. Avila (pro hac vice pending)
                                  57 Post Street, Suite 703
                                  San Francisco, CA 94104
                                  Tel: 415.398.3500
                                  Fax: 415.398.0955
                                  Email: javila@ebglaw.com




                                     32
Case 1:25-cv-11916-WGY   Document 16     Filed 07/07/25     Page 38 of 39




                             Marguerite Stringer (pro hac vice pending)
                             6000 Poplar Avenue, Suite 250
                             Memphis, TN 38119
                             Tel: 901.712.3200
                             Fax: 615.691.7715
                             Email: mstringer@ebglaw.com

                             Attorneys for Plaintiffs




                                33
     Case 1:25-cv-11916-WGY            Document 16       Filed 07/07/25      Page 39 of 39




                                 CERTIFICATE OF SERVICE

       I hereby certify that this document was filed through the ECF system and served upon the

following parties by Process Server on this 7th day of July 2025:


 Robert F. Kennedy, Jr., in his official capacity    Marty Makary, in his official capacity as
  as Secretary of Health and Human Services           Commissioner of the Food and Drug
                                                                Administration

  Jay Bhattacharya, in his official capacity as     Matthew Buzzelli, in his official capacity as
  Director of the National Institutes of Health     Acting Director Centers for Disease Control
                                                                  and Prevention

                               c/o Leah Belaire Foley, US Attorney
                   Office of the US Attorney for the District of Massachusetts
                                  1 Courthouse Way, Suite 9200
                                   Boston, Massachusetts 02210




                                                     /s/ Elizabeth J. McEvoy (BBO No. 683191)
                                                     Elizabeth J. McEvoy (BBO No. 683191)
